IN THE UNITED STATES DISTRICT COURT FOR THE
MIDDLE DISTRICT OF TENNESSEE

 

 

 

NASHVILLE DIVISION
EMILY JOHNSON,
Plaintiff,
v. Case No.
MARK LAVACK and
URS MIDWEST, INC.,
Defendants.
NOTICE OF REMOVAL

 

TO THE HGNORABLE JUDGES IN THE UNITED STATES DISTRICT COURT FOR THE
MIDDLE DISTRICT OF TENNESSEE:

Come now, Defendants, URS Midwest, Inc. (“URS”) and Mark Lavack (“Mr. Lavack”)
(collectively “Defendants”), by and through the undersigned counsel and, respectfully aver that:

l. On ySeptember 13, 2017, Plaintiff Emily Johnson (“Plaintifl”) commenced a civil
action against Defendants in the Circuit Court of Davidson County, Tennessee, styled Emz‘ly
Johnson v. Mark Lavack and URS Ml`dwest, Inc. ; Case No. 17 C 2293. The Sumrnons and
Complaint are attached as Exhibit A.

2. URS has not been served by Plaintiff With a copy of the Complaint.

3. l\/lr§ Lavack received a copy of the Complaint through the Tennessee Secretary of
State sometime after September 19, 2017.

4. According to the Complaint, this lawsuit arises from an automobile accident
Which occurred on September 30, 2016, in Davidson County, Tennessee (“the Accident”). See

Exhibit A.

Case 3:17-cV-01378 Document 1 Filed 10/17/17 Page 1 of 11 Page|D #: 1

5. In her Complaint, Plaintiff alleges that as a result of the Accident, she suffered
injuries, incurred medical bills, endured physical pain and mental suffering, suffered loss of
enjoyment of life and suffered loss Wages. See generally Exhibit A.

6. In her Complaint, Plaintiff did not specify an exact amount she is seeking as
damages She only stated she is seeking “A judgment for compensatory damages in an amount
to be determined by the trier of fact, but in excess of $25,000.” See Exhibit A,
“WHEREFGRE”, 1[1.

7. On ()ctober 2, 2017, the undersigned counsel sent Plaintift’s counsel a letter
seeking clarification regarding the amount of damages Plaintiff is seeking in her Complaint. To
date, no response has been received.

8. Though Plaintiff seeks an unspecified amount of damages, based on the
allegations set forth in the Complaint, Plaintiff has set forth a claim in Which the amount in
controversy Will almost certainly exceed the jurisdictional limit of $75,000. See Crumley v.
Greyhound Lines, Inc.; No. 11-2153, 2011 WL 1897185, at *1 (W.D. Tenn May 18, 2011)
(“When the plaintiff seeks an unspecified amount in damages, the defendant satisfies its burden
of proving the amount in controversy requirement When it shows that the amount more likely
than not exceeds $75,000.”’ (citing Pendergrass v. T ime Ins. Co.; No. 5:09-cv-00215-R, 1020
WL 989154, at *2 (W. D. Ky. Mar. 12, 2010)).

9. At all times material hereto, Plaintiff Was and is a resident of the State of
'l`ennessee. See Exhibit A, 1[1.

10. At all times material hereto, Defendant Mr. Lavack Was and is a resident of the

State of Michigan. See Exhibit A, 1[2.

2
Case 3:17-cV-01378 Document 1 Filed 10/17/17 Page 2 of 11 Page|D #: 2

11. At all times material hereto, Defendant URS was and is a Delaware corporation
with its principal place of business in Romulus, Michigan.

12. Diversity of citizenship within the meaning of 28 U.S.C. § 1332 exists between
Plaintiff and Defendants sincei

(a) Plaintiff is a citizen and resident of the State of Tennessee;

(b) Defendant Mr. Lavack is a resident of the State of Michigan; and

(c) Defendant URS is a Delaware corporation which is registered to do
business in the State of Tennessee.

13. Furthermore, diversity of citizenship existed at the time the action sought to be
removed Was commenced and continues through the time of filing of this notice, such that
Defendants are entitled to removal pursuant to 28 U.S.C. § 1441 and 28 U.S.C. § 1446.

WHEREFORE, Defendants, Mark Lavack and URS Midwest, Inc., pray that the above-
captioned action, now pending in the Circuit Court of Davidson County, Tennessee, be removed
to this Honorable Court.

Respectfully submitted,
/s Earl W. Houston, ll
Earl W. Houston, II, Esq. (TN Bar #024508)
MARTIN, TATE, MORROW & MARSTON, P.C.
6410 Poplar Ave., Tower II, Suite 1000
Memphis, TN 381 19-4839
(901) 522-9000 (Phone)
(901) 527-3746 (Fax)

ehouston@martintate.com

Attorneys for Defendants URS Midwest, Inc. and
Mark Lavack

3
Case 3:17-cV-01378 Document 1 Filed 10/17/17 Page 3 of 11 Page|D #: 3

CERTIFICATE OF SERVICE
The undersigned hereby certifies that on GCtober 17, 2017, a true and correct copy of the

foregoing Notice was served via U.S. mail, first-class, postage prepaid and via the Court’s
electronic mail system to:

Burke Keaty, Esq.

Susan Neal Williams, Esq.

Morgan & Morgan-Nashville, PLLC

810 Broadway, suite 105

Nashville, Tennessee 37203

bkeaty@forthepeople.com

Attorneys for Plaintijj‘Emily Johnson

/s Earl W. Houston` II

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Case 3:17-cV-01378 Document 1 Filed 10/17/17 Page 4 of 11 Page|D #: 4

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Division of Business Services
Department of State

State of Tennessee
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Nashvillc, TN 37243»1 102

 

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LAVACK, MARK 09119/2017
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RE: EM{LY JOHNSON

VSZ MARK LAVACK

Notice of Service

The enclosed procees, notice or demand is hereby officially served upon you by the ,
Tennessee Secretary of State pursuant to Tennessee iaw. Please refer to the |:iroi:=esel notice or
demand for details concerning the legal matter. if you have any questions, please contact the
clerk of the court that issued the process, notice or demand '

s ` The process, notice or demand may have ge court date and time that you must appear to
defend yourself or the number of days from the date of service by which you are required to file
an answer. Feilure to appear in court at the time specified or failure to file en answer in the given
time could result in a default judgement being rendered against you for relief sought in the
lawsuit

The Secretery of State'e office cannot give you legal advice if you need legal edince.

please consult a private attorney
Tre Hargett !j g

. Secretary of State
Enclosuree: Orlginal Documents

 

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Case #: 1702293

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Case 3:17-cV-01378 Document 1 Filed 10/17/17 Page 5 of 11 Page|D #: 5

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a civil action iiied against you in the Clrcuit Court, 1 Puhlic Square, Room 302,
must be made within thirty (30] days from the date this
your defense with the Cierk of the Court and send a copy to

You are summoned~to appear end defend
F.o. Box 196303, Nashvliie, TN 37219-6303, and your defense
summons is served upon you. ¥ou are Further directed to file
the Pialntiff'a attorney at the address listed below

in case of your tenure to defend this action by the above date, judgment by default will bn rendered against you for the
relief demanded in he co taint
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TO THE SHERiF-'F:
Pie_asa execute this summons and make your return hereon as provided by iaw.
RECHARD R. RDUKER

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Received this summons for service this day of . 20

 

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(t=,\ To request an ADA accommodation please contact hart core st{s'i$) 830-3309.

 

 

Case 3:17-cV-01378 Document 1 Filed 10/17/17 Page 6 of 11 Page|D #: 6

 

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RETURN i.`JN F"ERSONAL S`ERVICE’OF SUMMQNS

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receipt is attached to iiiis original summons grid both documents are being sent herewith tci the Circuit Court Ciari< for iiiing.

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MARK LAVACK and }
URS MWEST, INC., )
)
Defendants. )
coMPLA):NT
Plainfiffstates:

1. Plaintiff Emily Johnson is a resident and citizen of W.hite Bluff, Dickson County,
Tennessee,

2. Defendant Mark Lavack is a resident and citizen of Marquette, Marquette County,
Michigan.

3. Defendant URS Midwest Iuo., is a Delaware corporation with a registered agent
ofCorporatc: Crcations thwork, Inc., 205 Powell Place, Brentwood, Tennessoe, 37027~7522.

4. On or about September 30, 2016, Defendant Mark Lavack was operating a tractor-
trailer on Interstate 40 in Nashville, Davidson County, '.l.`ennessee.

5. At the same time, Plaintiff Emily Jolmson was operating her sedan on Intcrstate
40 in front of the tractor»trailer Defendant Mark Lavack was dziving.

6. Defendant Mark Lavack drove the tractor-trailer into the rear of the Plainti.f¥’s
sedan causing a col!ision.

7. Defendant Mark Lavack is at fault for the ooilision.

8. Defendant Mark Lavack followed P!aintif?("’s sedan improperly

Case 3:17-cV-01378 Document 1 Filed 10/17/17 Page 8 of 11 Page|D #: 8

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9. Defendant Mark Lavack did not maintain a proper lookout

IO. Defendant Mark Laver did not pay proper attention

11. Defendant Mark Lavack did not keep the tractor*ueiler he was driving under
proper control

12. Defendant Mark Lavack did not otherwise use reasonable and due care in the
opera1ion of the tractor-trailer he was dtiving.

13. Basecl on Defendant Mark Laveok’s conduct described herein, Defendant Mark
Lavack was negligent

14. Defendant Mark Lavack Violated Tez:m. Code Aan § 55-8-124 by following
improperly PlaintiHEmiiy Jolmsou’s eedan.

15. Defendant Mark Lavack violated Tezm. Code Ann. § 55~*3 136 by failing to
exercise due care to avoid colliding with Plainti;if Bmz'ly Jolmson’s sedan, by failing to maintain
a safe lookout, by failing to keep the tractor-trailer lie was driving under proper control, and by
failing to devote full time and attention to operating the tractor~tmiler, under the existing
circumstances to avoid endangering life, limb, or property.

16. Based on hDc=:i’enclaoat Mark Levaci<’s conduct described herein, Defendant Mark
Lavack was negligent per se.

17. At all times relevant to the matters alleged herein, Defendant Mark Lavack was
the agent, or employee or both, of Defendant URS Miclwest, luc.

18. At all times relevant to the matters herein¢ Defendant Mark Lavack was acting in
the course and scope of his agency relationship, or employment, or both with Defendant URS

Mi,dwest, Ino.

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Case 3:17-cV-01378 Document 1 Filed 10/17/17 Page 9 of 11 Page|D #: 9

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19. Defendant URS Midwcst, Ino., is vicariously liable for the 'aots, omissions3 or
both, ochfencleni Mark Lavack described herein under the doctrine of respondeat supei‘ior.
20. PlsintiH` Emily .lolmsorr has suffered injuries as a direct and proximate result of
the collision
21. Plointiff Emily .Tohnson has incurred medical hills and other expenses as a. direct
and proximate result ofi;he eoliision.
22. PleintiffEmily levinson has endured physical pain and mental suffering as a direct
and proximate result ofthe eollisioo.
23. Plaintiil` Bmily Iolmson. has suffered loss of enjoyment of life as a direct end
proximate result ofthc collision
24. Plaintiff Emily .Iohnson, has su&`erecl lost wages as a direct and proximate result of
the collision.
25. Plaintiff Emily Johnson seeks to recover for all of her damages allowed under
Tennessec law.
WHEREPORE, l:"leintiE Emily Johnson prays for the following relief:
l. A. judgment for compensatory damages for Plaintiff Emily Johnscm against
Defendarrls Mark Lavack and URS, Miclwest, Ino., jointly and severelly, in an
amount to be determined by i‘he trier of fact, but in excess of $25,000;
2. An award of all discretionary costs end court oosts; and

3. Suoh other end further relief as shall be deemed reasonable and necessary.

.3.

Case 3:17-cv-01378 Document 1 Filed 10/17/17 Page 10 of 11 Page|D #: 10

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R.especti`ully Submitted,

MF/

Burke Keaty (BPR#027342)

Susan Neal Williams (BPR#OK 0408)
MoRGAN & MORGAN - NASHVH,LE, PLLC
810 Broadway, Suite 105

NaShVille, Tennessee 37203

Phone: (615) 928-990}
bkeaty@forthepeople.com

Counse!jbr Emz'ly Johnson

 

Case 3:17-cv-01378 Document 1 Filed 10/17/17 Page 11 of 11 Page|D #: 11

